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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW MEXICO


                                                Clerk's Minutes
Before the Honorable Chief Judge William P. Johnson

Case No.: CR 18-3475 WJ                      Date: April 10, 2019

Parties: USA v. Robert Dunsworth

Courtroom Clerk: R. Garcia                   Court Reporter: M. Loughran

Interpreter: N/A

Type of Proceeding: Motion Hearing/ Appeal of Detention Order Hearing

Place of Court: Albuquerque

Total time in Court: 18 minutes

Evidentiary Hearing: No


Attorneys Present for Plaintiff(s):                   Attorneys Present for Defendant(s):
  Thomas Outler                                          Irma Rivas



Proceedings:

2:19    Court in session; counsel enter appearances; Pretrial Service Officer, Anthony Galaz, present; Defendant

        present.

        Ms. Rivas addresses the Court in support of her client’s Appeal of Magistrate Judge’s Detention Order and

        for release based on the fact that there was no violence associated with the gun involved in this matter, nor

        was the gun found on his person; but rather, in the trailer where he lived with his wife; notes her client has

        mental and physical issues that make it difficult to be incarcerated; notes family ties are here in New

        Mexico; notes substance abuse problems can be better addressed upon release; notes her client earns a

        living as an artist, but does have other financial resources available to him; requests release to halfway

        house.

2:26    PTSO Galaz addresses the Court; recommends continued detention based on failures to appear, a pattern of

        violent criminal history, and possession of weapons indicating a willingness to use violence.
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2:27   Mr. Outler addresses the Court in opposition to release based on history of violence, gun possession, and

       failure to comply with court procedures.

2:29   Ms. Rivas replies; notes her client is willing to be under electronic GPS monitoring and to follow the rules

       and orders of the Court.

2:30   The Court, based on its review of record and the Pretrial Services Report, finds the Defendant to be a

       danger to the community and a flight risk; therefore, the Court denies Defendant’s Appeal of the Magistrate

       Judge’s Detention Order; Defendant shall remain in the custody of the U.S. Marshal pending trial or further

       order of the Court.

2:37   Court in recess.
